         Case 1:05-cr-01849-JCH      Document 672-1       Filed 09/11/06    Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                        Plaintiff,

vs.                                                 Criminal No. 05-1849 JH

DANA JARVIS,

                        Defendant.

                               ORDER CONTINUING HEARING

          This matter having come before the Court on the Motion of counsel for the Defendant,

Dana Jarvis, and the Court being fully advised of the circumstances, finds the motion is well

taken;

          IT IS HEREBY ORDERED THAT Defendant’s Motion for a continuance of the hearing

on three motions: 1) Motion by USA for Order to Show Cause Why Protective Order Should Not

be Vacated [Doc. No. 459], 2) Defendant’s Motion to Vacate Protective Order [Doc. No. 537]

and 3) Motion by USA for Interlocutory Sale of Real Property & Liquor License No. 2599 [Doc.

No. 664], which are currently set for Wednesday, September 20, 2006 at 2:00 pm before the

Honorable Judith C. Herrera, be and hereby are VACATED and RESET until further notice from

the Court.



                                                    __________________________________
                                                    JUDITH C. HERRERA
                                                    U.S. DISTRICT COURT JUDGE
     Case 1:05-cr-01849-JCH     Document 672-1   Filed 09/11/06   Page 2 of 2




SUBMITTED BY:

Electronically filed 9/5/06
_________________________
Joe M. Romero, Jr.
Attorney for Defendant Jarvis
1905 Lomas Blvd. NW
Albuquerque, NM 87104
(505) 843-9776




                                        2
